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 7
                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10          A.B., by and through her next friend             CASE NO. C14-1178 MJP
            CASSIE CORDELL TRUEBLOOD, et
11          al.,                                             ORDER TO SHOW CAUSE

12                                 Plaintiffs,

13                  v.

14          WASHINGTON STATE
            DEPARTMENT OF SOCIAL AND
15          HEALTH SERVICES, et al.,

16                                 Defendants.

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            The Court issues this Order to Show Cause sua sponte in light of the pending appeal
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     Defendants have filed. (Dkt. No. 1029.) The Court wishes to hear from both Parties on whether,
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     notwithstanding the appeal, they believe the Court continues to have jurisdiction to: (1) decide
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     Defendants’ Motion for Modified Payment Schedule (Dkt. No. 1026); (2) determine whether
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     RCW 10.77.068 comports with the Permanent Injunction (see Dkt. No. 1012); and (3) enter any
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     ORDER TO SHOW CAUSE - 1
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 1   amended judgments that include fines related to competency services or fines related to Civil

 2   Conversion patients.

 3          The Court ORDERS the Parties to file briefs responding to this Order’s concerns of no

 4   more than 8 pages that shall be due by August 30, 2023. No responses or replies shall be filed

 5   unless ordered by the Court.

 6          The clerk is ordered to provide copies of this order to all counsel.

 7          Dated August 15, 2023.

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                                                          Marsha J. Pechman
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                                                          United States Senior District Judge
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     ORDER TO SHOW CAUSE - 2
